On June 25, 1993, the Licking County Grand Jury indicted appellee, Joseph Bradley, on three counts of rape in violation of R.C. 2907.02(A)(2), one count of kidnapping in violation of R.C. 2905.01 and one count of aggravated robbery with a firearm specification in violation of R.C. 2929.71 and R.C. 2941.141. Said charges arose from an incident involving one Michelle Matheny.
On October 4, 1993, appellee pled guilty as charged. By judgment entry filed same date, the trial court sentenced appellee to an aggregate indeterminate term of thirty to seventy-five years in prison plus a determinate term of three years for the firearm specification.
On December 8, 1997, a stipulation in lieu of hearing was filed to determine appellee's status pursuant to the Sex Offender Registration Act, R.C. Chapter 2950. By judgment entries filed December 10, 1997, the trial court classified appellee as a "sexual predator," but determined R.C. Chapter 2950 as applied to appellee violated the Retroactive Clause of the Ohio Constitution.
Appellant, the State of Ohio, filed an appeal and this matter is now before this for consideration. Assignment of error is as follows:
I
  THE TRIAL COURT ERRED IN RULING THAT REVISED CODE SECTION 2950.09 WAS UNCONSTITUTIONAL AS BEING A RETROACTIVE LAW IN VIOLATION OF THE OHIO CONSTITUTION.
                                    I
This court has previously reviewed this argument in State v.Royce Albaugh (February 1, 1999), Stark App. Nos. 1997CA00167 and 1997CA00222, unreported, State v. Earl Bair (February 1, 1999), Stark App. No. 1997CA00232, unreported, and State v.Frederick A. Mclntyre (February 1, 1999), Stark App. No. 1997CA00366, unreported. We hereby adopt and incorporate the corresponding assignment of error from these opinions herein.
The sole assignment of error is granted.
The judgment of the Court of Common Pleas of Licking County, Ohio is hereby reversed.
By Farmer, J., Wise, P.J. and Hoffman, J. concur
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                                        -------------------- JUDGE
For the reasons stated in the Memorandum-Opinion on file, the judgment of the Court of Common Pleas of Licking County, Ohio is reversed and remanded to said court to enter an order pursuant to its December 10, 1997 finding that appellee be classified a "sexual predator."
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                                        -------------------- JUDGE